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AO 245B        (Rev. 09/11) Judgment in a Criminal Case                                                               U. Fo~~~CgRT
                                                                                                                  EASTERN DISTRICT ARKANSAS
               Sheet 1

                                                                                                                         JUN 0 4 2012
                                            UNITED STATES DISTRICT COURJiMe                                                   c R             , CL
                                                            EasternDistrictofArkansas          By:                  ~~~~
                                                                       )
              UNITED STATES OF AMERICA                                 )     JUDGMENT IN A CRIMINAL CASE
                                   v.                                  )
                MARCUS CLEOPHUS DORN                                   )
                                                                             Case Number: 4:10CR00229-02 BRW
                                                                       )
                                                                       )     USM Number: 26073-009
                                                                       )
                                                                       )     Gene E. McKissic
                                                                                  Defendant's Attorney
THE DEFENDANT:
!ii'pleaded guilty to count(s)          6
                                    --------------------------------------------------------------------------
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
21 U.S.C. 8419a)(1)                Aiding and Abetting the Possession of Marijuana with Intent               10/20/2009                   6
 and (b)(1)(D) and                  to Distribute, as Class D Felony

 18 U.S.C. 2

       The defendant is sentenced as provided in pages 2 through           ___5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
lt'count(s)      1 and 5                                  D is     lit(are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material dianges in economic circumstances.

                                                                           6/1/2012




                                                                           BILLY ROY WILSON                             U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge




                                                                          Date
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AG 2458       '(Rev. 09/11) Judgment in a Criminal Case
               Sheet 4-Probation
                                                                                                            Judgment-Page _ _ _ of
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:1 OCR00229-02 BRW
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of :

 2 years.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
0        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

0        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as direc.ted by the probatlon offi~er, the Bureal! of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)
0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observeo in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   ' (Rev. 09/11) Judgment in a Criminal Case
            Sheet 4C- Probation
                                                                                         Judgment-Page ~=3~ of        5
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:10CR00229-02 BRW

                                          SPECIAL CONDITIONS OF SUPERVISION
 The first 8 months of supervision to be served on Home Detention, with the use of an electronic monitoring device.

 The defendant will be allowed to leave his residence for employment, church and medical purposes. The defendant will be
 subject to the standard conditions of Home Detention and is to follow electronic monitoring procedures specified by the
 Probation Officer. Costs for electronic monitoring will be paid by the Government.
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AO 245B   '(Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                        Judgment- Page           of
DEFENDANT: MARCUS CLEOPHUS DORN
CASE NUMBER: 4:1 OCR00229-02 BRW
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                          Fine                                   Restitution
TOTALS            $ 100.00                                              $ 1,000.00                          $ 0.00


D The determination of restitution is deferred until           ---
                                                                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately progortioned P.ayment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664li), all nonfederal victims must be paid
    before the United States is pmd.

Name of Payee                                                              Total Loss*          Restitution Ordered Priority or Percentage




TOTALS                               $                          0.00         $ - - - - - - - - - - - - - -0.00
                                                                                                          ----


D    Restitution amount ordered pursuant to plea agreement $

0    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ~ the interest requirement is waived for the              ~ fine     D restitution.
     D the interest requirement for the               D fine    D restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113AofTitle 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
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AO 245B    '(Rev. 09/11) Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments

                                                                                                                Judgment- Page        5      of          5
DEFENDANT: MARCUS CLEOPHUS DORN
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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{ Lump sum payment of$ ~10_0_._0_0_ _ __ due immediately, balance due
           D     not later than                                      , or
           D     in accordance            D C,         D D,     D      E, or    ~ F below; or

B     D Payment to begin immediately (may be combined with                     oc,        D D, or       D F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri{ Special instructions regarding the payment of criminal monetary penalties:
           The defendant to pay 10 percent of gross monthly income for the fine imposed.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financia1
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, ( 4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
